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13
                               UNITED STATES DISTRICT COURT
14
                              CENTRAL DISTRICT OF CALIFORNIA
15
16       Lucas R., et. al.,                     Case No.: 18-cv-05741-DMG-PLA
                                                JOINT STATUS REPORT
17                            Plaintiffs,       PURSUANT TO THE COURT’S
18                                              DECEMBER 22, 2020 ORDER
                     v.
19
20       Norris Cochran,
         Acting Secretary of U.S. Dep’t of      Honorable Dolly M. Gee
21                                              United States District Judge
         Health and Human Services,1 et al.,
22
23                            Defendants.
24
25
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27   1
      Pursuant to Fed. R. Civ. P. 25(d), Norris Cochran, Acting Secretary of Health and
28   Human Services, is substituted for Alex Azar.
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1          The Court’s December 22, 2020 order, inter alia, directed the parties to “meet
2    and confer regarding their claims in light of the Court’s tentative oral ruling and
3    submit a Joint Status Report on the status of those meetings by February 1, 2021.”
4    ECF 320. The Court instructed that “[t]he Joint Status Report shall also contain
5    proposed new pretrial and trial dates and deadlines.” Id.
6          I.     Status Of The Parties’ Discussions
7          As discussed in the Court’s order, the parties were scheduled for a settlement
8    conference on January 11, 2021, before Magistrate Judge Pym to discuss the claims
9    not subject to the cross-Motions for Summary Judgment — i.e., the psychotropic
10   medications and disabilities class issues.       The parties met as planned.        The
11   conference was productive, and the parties scheduled a further telephonic follow-up
12   call with Judge Pym for January 28, 2021, in part to discuss setting a further
13   settlement conference date. That call was held as scheduled, and the parties set a
14   further follow-up call with Judge Pym on February 26, 2021.
15         The parties also held an initial meet-and-confer on January 22, 2021, which
16   touched upon the parties’ efforts to settle each of the claims at issue in this case, and
17   to discuss potential trial dates in 2021. At that meet-and-confer, the parties set forth
18   a tentative plan for exchanging settlement proposals. Subsequently, new leadership
19   within the Department of Health and Human Services was designated and set to
20   arrive shortly, leading to a modest adjustment of the schedule of further settlement
21   discussions to permit the leadership to be fully briefed on the case. However, given
22   the progress made with respect to issues raised both by cross-Motions for Summary
23   Judgment and claims outside the cross-Motions for Summary Judgment, the parties
24   remain committed to further discussions and will continue to pursue those
25   discussions over the coming weeks.
26
27
28
                                                2         Joint Status Report Pursuant To
                                                    The Court’s December 22, 2020 Order
                                                    Case No. 2: 18-CV-05741 DMG PLA
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1           II.    Proposed New Trial Schedule
2           The parties have discussed the potential dates for trial, the anticipated length
3    of trial, the prospect of when the circumstances of the pandemic relating to the novel
4    coronavirus (“COVID-19”) may permit an in-person trial, and the prospects of both
5    the settlement negotiations and the meet-and-confer in light of the Court’s tentative
6    oral ruling. In light of those considerations and the parties’ desire to expeditiously
7    resolve this matter, and acknowledging some uncertainty posed by COVID-19
8    relating to the hoped-for availability of parties, witnesses, counsel, and the Court to
9    participate in a trial once it is safe to travel and meet in person, the parties tentatively
10   and jointly propose a trial date beginning October 12, 2021. Moreover, the parties
11   currently anticipate that trial will require approximately five weeks. In light of that
12   date and the Court’s rules regarding scheduling dates for trial, the parties propose
13   the following schedule:
14   ///
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17   ///
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20   ///
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23   ///
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25   ///
26   ///
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28
                                                  3         Joint Status Report Pursuant To
                                                      The Court’s December 22, 2020 Order
                                                      Case No. 2: 18-CV-05741 DMG PLA
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1                                   PROPOSED SCHEDULE
2
                Matter                  Vacated Date         Proposed New Date
3
4    TRIAL [ x ] Court [ ] Jury     03-30-21 at 9:30 a.m.   10-12-21 at 9:30 a.m.
     Duration Estimate: 5 Weeks
5
6    Final Pretrial Conference      03-02-21 at 2:00 p.m.   09-14-21 at 2:00 p.m.
     4 weeks before prior
7
8
9                Matter                 Vacated Date         Proposed New Date
10
     Joint Status Report re         01-08-21                03-31-21
11   Settlement
12
     Motions in Limine Filing       01-15-21                07-30-21
13   Deadline
14
     Opposition to Motion in        01-29-21                08-13-21
15   Limine Filing Deadline
16
17
     Proposed Pretrial Conference   02-19-21                09-03-21
18   Order
19
     Pretrial Exhibit Stipulation   02-19-21                09-03-21
20
21   Joint Exhibit List             02-19-21                09-03-21
22
23   Witness Lists & Joint Trial    02-19-21                09-03-21
     Witness Time Estimate Form
24
25   Witness Declarations or        02-26-21                09-10-21
     Marked Depositions
26
27
28
                                           4         Joint Status Report Pursuant To
                                               The Court’s December 22, 2020 Order
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1    Objections to Witness        03-12-21                09-24-21
     Declarations/Marked
2    Depositions
3
     Proposed Findings of Fact and 02-23-21               09-10-21
4    Conclusions of Law
5
     Mark Up of Opponent’s        03-12-21                09-24-21
6    Proposed
7    Findings/Conclusions
8
9
                                      Respectfully submitted,
10
11   Dated: February 1, 2021          /s/ Summer J. Wynn _______
                                      SUMMER J. WYNN (240005)
12                                    Attorneys for Plaintiffs
                                      Email: swynn@cooley.com
13
14                                    BRIAN BOYNTON
                                      Principal Deputy Assistant Att’y General
15                                    Civil Division
16                                    /s/ Ernesto H. Molina, Jr.__
17                                    ERNESTO H. MOLINA, JR. (181304)
                                      Deputy Director
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21                                    NANCY CANTER
                                      Trial Attorneys
22                                    Office of Immigration Litigation
                                      Civil Division
23                                    U.S. Department of Justice
                                      Attorneys for Official-Capacity
24                                    Defendants
25
26
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28
                                         5          Joint Status Report Pursuant To
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1                                      CERTIFICATION
2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I certify that all of the above
3    signatories concur in this filing’s content and have authorized the filing.
4
5 Dated: February 1, 2021
6                                     By: /s/ Ernesto H. Molina, Jr.
7                                         Ernesto H. Molina, Jr. (181304)
                                          Attorneys for Defendants
8                                         Email: ernesto.h.molina@usdoj.gov
9                              CERTIFICATE OF SERVICE

10
           I hereby certify that on February 1, 2021, I electronically transmitted the
11
     forgoing document to the Clerk for the United States District Court for the Central
12
     District of California using the CM/ECF system. I further certify that all
13
     participants in the case are registered CM/ECF users and that service will be
14
     accomplished through the CM/ECF system.
15
16                                           Respectfully submitted,
17
                                             /s/ Ernesto H. Molina, Jr.
18                                           ERNESTO H. MOLINA, JR. (181304)
19                                           Deputy Director
                                             Office of Immigration Litigation
20
                                             United States Department of Justice
21
22
23
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27
28
                                               6         Joint Status Report Pursuant To
                                                   The Court’s December 22, 2020 Order
                                                   Case No. 2: 18-CV-05741 DMG PLA
